Case 6:18-cv-01863-WWB-DCI Document 35 Filed 11/15/19 Page 1 of 5 PagelD 410

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
ORLANDO DIVISION

DISABILITY RIGHTS FLORIDA, INC.,

Plaintiff,

Vv. CASE NO.: 6:18-cv-1863-Orl-41DCI

RICHARD JACOBS, Administrator
for Lakeside Behavioral Healthcare,
and ASPIRE HEALTH
PARTNERS, INC., a Florida
not-for-profit corporation,

 

 

Defendants.
/
JOINT MOTION FOR VOLUNTARY DISMISSAL AND ADOPTION OF
SETTLEMENT AGREEMENT

 

Pursuant to Federal Rule of Civil Procedure 41(a)(2), the undersigned counsel,
for and on behalf of the above-named Plaintiff and Defendants, jointly move this
Court for entry of an order dismissing this action with prejudice. The Defendants
have complied with the Court’s order granting Plaintiff's Motion for Preliminary
Injunction (Doc. 33) and have permitted Plaintiff access to Lakeside Behavioral
Healthcare and its residents for the purpose of monitoring the facility.

The parties have agreed to resolve all remaining issues in this action, including

Plaintiff's request for a permanent injunction, on the terms listed below. This
Case 6:18-cv-01863-WWB-DCI Document 35 Filed 11/15/19 Page 2 of 5 PagelD 411

agreement is conditioned on the Court’s adoption of the terms of the agreement in
the order dismissing this case.

The parties have agreed to the following:

1) Disability Rights Florida (DRF) is the designated protection and advocacy
system for the State of Florida.

2) As the protection and advocacy system for the State of Florida, the
Protection and Advocacy for Individuals with Mental Illness (PAIMI) Act
and its implementing regulations grant Plaintiff and its agents broad access
to, inter alia, facilities providing care or treatment to individuals with mental
illness in the state. 42 U.S.C. § 10805(a)(3); 42 C.F.R. § 51.42(a).

3) DRF’s authority as the P& A system includes “reasonable unaccompanied
access to facilities and residents” for the purpose of “[mJonitoring
compliance with respect to the rights and safety of residents,” and
“Ti]nspecting, viewing and photographing all areas of the facility which are
used by residents or are accessible to residents.” Id. § 51.42(c)(2){3).

4) Defendants’ facility located at 434 West Kennedy Boulevard, Orlando,
Florida 32810 is a facility that provides care and treatment to individuals
with mental illness. Accordingly, Plaintiff shall have the authority to access
Defendants’ facility as authorized by the PAIMI Act and its implementing

regulations.
Case 6:18-cv-01863-WWB-DCI Document 35 Filed 11/15/19 Page 3 of 5 PagelD 412

5) To the extent that Defendants operate other facilities that provide care or
treatment to individuals with mental illness, Plaintiff shall have access to
those facilities pursuant to the PAIMI Act and its implementing regulations.
6) Defendant agrees to reimburse Plaintiff's cost in this action in the amount of
$400.00. Otherwise, the parties agree to bear their own costs and attorney’s
fees.
Both parties respectfully request this Court to adopt and incorporate the above
terms in its order dismissing this case with prejudice.
Memorandum of Law

Rule 41(a)(2) states that an action may be dismissed at the Plaintiff's request by
court order “on terms that the court considers proper.” The parties respectfully
suggest that the terms set out in this motion are proper because they follow the
ruling of this Court in its order granting Plaintiff's Motion for Preliminary
Injunction and the requirements of the Protection and Advocacy for Individuals
with Mental Illness Act and its implementing regulations. A court’s order
dismissing the suit may embody the settlement agreement or retain jurisdiction
over the settlement agreement if the parties agree. See Kokkonen v. Guardian Life
Ins. Co., 511 U.S. 375, 381-82 (1994) (noting that when dismissal is pursuant to

Rule 41(a)(2), the court may, in its discretion, make the parties' compliance with
Case 6:18-cv-01863-WWB-DCI Document 35 Filed 11/15/19 Page 4 of 5 PagelD 413

the terms of the settlement agreement (or retention of jurisdiction over the
agreement) part of its order).

WHEREFORE, both parties respectfully move this Court to dismiss this action
with prejudice and to adopt the above terms, jointly agreed upon by the parties, as

an order of the Court.

 

 

Respectfully Submitted, J
I Ey - a a
Curtis C. Filaroski, Esquire Michael R. D’Lugo, Esquire (0040710)
Florida Bar No. 111972 mdlugo@wickersmith.com

curtisf@disabilityrightsflorida.org
WICKER SMITH O’HARA McCOY

Peter Sleasman, Esquire & FORD, P.A.
Florida Bar No. 367931 390 N. Orange Ave., Suite 1000
peters@disabilityrightsflorida.org Orlando, FL 32801

Phone: (407) 843-3939
DISABILITY RIGHTS FLORIDA Fax: (407) 649-8118
2473 Care Drive, Suite 200
Tallahassee, FL 32308 Attorney for Defendants

Telephone: (850) 488-8640
Facsimile: (850) 488-8640

Attorneys for Plaintiff
Case 6:18-cv-01863-WWB-DCI Document 35 Filed 11/15/19 Page 5 of 5 PagelD 414

CERTIFICATE OF SERVICE
I HEREBY CERTIFY that a true and correct copy of the foregoing was
filed with the Clerk of Court using the CM/ECF system on November __,

2019.

Curtis C. Filaroski, Esquire
Florida Bar No. 111972
